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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CARRIE BAKER,                :
         Plaintiff,          :
                             :
      vs.                    :                    No. 1:22-cv-01481-SHR
                             :
GREEN THUMB INDUSTRIES INC., :
          Defendant.         :

                             ORDER OF DISMISSAL

      Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure

41(a)(1)(ii), it is ORDERED that this action be, and hereby is, dismissed with

prejudice as to all claims, causes of action, and parties, with each party bearing that

party’s own attorney’s fees and costs.


                                         BY THE COURT:



                                                                                     J.
